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l:] Sma|l C\aims [:l County Court E] Districf Court
m Probate Court [] Juveni|e Court I:] VVater Court
Pueblo County, Colorado

Court Address: Pueb|o County Judioia! Building,
320 West Tenth Street, Pueblo, Co|orado 81003

.lOHN DOE NO. 9,

Plaintiff,

V.

DIGCESE OF PUEBLO, a corporation sole, and
THE MARIANlSTS PROVINCE C)F THE
UNITED STATES, lNC.,

Defendants.

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Case Number:

 

Div.: Ctrm:

 

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COMPLA|NT

 

 

Plaintiff, JOHN DOE NO. 9, hereby brings this Complaint against Defendants,

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DIOCESE O.F PUEBLO and Tl~lE MARIANISTS PROVINCE OF THE UNITED STATES,

INC., and alleges as follows:

PARTIES AND JURISDICTI()N

l. Plaintiff, JOHN DOE NO. 9, is an adult male who resides in Oregon. Plaintiff is
identified by the pseudonym JOHN DOE NO. 9 in that this case involves childhood sexual
abuse.

2. Defendant, DIOCESE OF PUEBLO, is a corporation sole responsible for the
interests of the Roman Catholic Church in southern Colorado. The~ DlOCESE OF PUEBLO’s

 

jurisdiction and responsibilities include all Catholic schools within its geographical boundaries
At all material times, the DlOCESE OF PUEBLO owned and operated Roncalli High School, an
all-boys Catholic high school in Pueblo, Colorado.

3. Defendant, MARIANISTS PROVINCE OF THE UNITED STATES, lNC.
(“MARIANISTS”), is a Catholic religious Order and non-profit Missouri corporation doing
business in Colorado. At all relevant times, MARlANlSTS staffed and administered Ronealli
High School with priests and monks from the Society of Mary. Defendants, DIOCESE OF
PUEBLO and MARlANlSTS, are collectively referred to herein as the “Church” or

“Defendants.”

4. At all material times, Brother William Mueller (“BROTHER MUELLER”) was a
member of the MARIANISTS’ Religious Order and a band director at Roncalli High School.
BROTHER MUELLER was a popular teacher at Roncalli High School who was often bugging

and wrestling with the students

5. Upon information and belief, Defendant, the DIOCESE OF PUEBLO’s principal

place of business is within the City and County of Pueblo, making venue proper
BACKGROUND

6. fl`he Church offers many opportunities for minors and families to become active

and involved in Church activities As a result, priests, clergy, and members of Religious Orders

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have abundant and frequent contacts with minors, individually and in groups

7. Because of the opportunities to be with minors, The`Church attracts many truly
caring and giving individuals; however, at the same time, service in The Church attraets an
extraordinary number of pedophiles, child inolesters and sex abusers.

8. Officials and religious figures at the highest levels of 'l`he Church are well aware
of the attraction of The Church to those who will do serious harm to minors

9. Such persons who will do serious harm to minors seek employment by The
Church as clergy, where they will obtain privacy with minors and control over them. As
religious figures, they wield enormous influence over minors, who are required to address them
as “Father”, “Brother”, or such other terms connoting love and authority.

10. Religious figures in The Church are bestowed with an heir of infallibility, and are
considered conduits for Catholics to make a connection with the deity and live more meaningful
lives.

ll. As a result, when these seemingly infallible holy men commit unspeakable,
perverted sexual acts with minors, it has an extraordinarily traumatic effect on the victims,
psychologically and emotionally

12. lnstead of exercising due care and diligence to protect minors under these
circumstances from the serious harm described above, The Church gives clergy complete
discretion and freedom to have personal and private encounters with minors At the same time,
The Church has done nothing to screen abusers or protect minors from the sexual predators who
infiltrate its ranks

13. Quite the opposite, The Church has gone to great lengths to protect “its own.” lt
is the practice of the Roman Catholic Church, through its cardinals, bishops, priests, religious
orders, and other officials and agents, to conceal instances of child sexual abuse and complaints
by victims lt zealously maintains the secrecy of the horrifying truth of rampant child sexual

abuse in The Church, by among other things:

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c F ailing to disclose complaints to law enforcement officials, parishioners,
students, and the public;

o l\/laintaining secret archives and files of` evidence of sex abuse, accessible
only to bishops;

o lnstructing Church officials in destruction of incriminating documents and
spoliation of evidence regarding sexual abuse by clergy;

c Transferring sex offending clergy to The Church facilities in other locations
where their pasts would not be known, and the abusers would have a “f`resh
start” with anew group of vulnerable cbildren;

o Threatening and coercing victims and their families to withdraw
complaints and retract allegations of sexual abuse;

o Paying “hush money” to victims and their families, in exchange for
promises of non-disclosure and confidentiality

14. Each ol` the acts Set forth above are done to protect and shelter the abuser; obstruct
justice; conceal criminal conduct; evade prosecution; avoid being compelled by criminal and
civil courts to turn over information or allegations regarding child sexual abuse; avoid public
awareness and scandal about pedophile clergy; and avoid financial loss.

15. The Church’s conduct is outrageous given the enonnous trust and confidence
placed in its religious figures The Church actively solicits and encourages this trust and
confidence from parishioners and the public l

SEXUAL ABUSE OF JOHN DOE NO. 9

16. JOHN DOE NO. 9 was born in February 1953. He was raised in a devout
Catholic household and participated in the Church as an altar boy during his youth. His entire
formal education was at Catholic schools operated by the DIQCESE OF PUEBLO.

l7. JOHN DOE NO.' 9 attended Roncalli High School in Pueblo, Coloraclo for four
years from September 1968 through his graduation lune. 1971. At Roncalli, JOHN DOE NO_ 9

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participated in the school band which was led by BROTHER MUEhLER. During JOHN DOE
NO. 9’s junior year art Roncalli, BROTHER MUELLLER asked JGHN DOE NG. 9 to meet him
after school to help out with a special project

18. JOl~lN DOE NO, 9 drove himself to school that evening Upon his arrival at the
school, BROTHER MUELLER led .lOHN DOE NO. 9 into one of the offices adjacent to the
band room. BROTHER MUELLER told JOHN DOE NO. 9 to remain Standing and wait for him
to return. When BROTHER MUELLER returned, he placed an ether-soaked rag over JGHN
DCE NO. 9’s face. BROTHER MUELLER then gagged JOHN DOE NO. 9’s mouth,
blindfolded him, tied his hands together, and sexually abused him.

19. JOHN DOE NO. 9 eventually passed out from the ether and fell to the ground.’
When JOHN DOE NO. 9 awoke, his hands were still tied and he was still blindfolded.
BROTHER MUELLER told JOHN DOE NG. 9 that he had just performed a psychological
experiment as part of his masters’ thesis. BRGTHER MUELLER then began asking JOHN
DOE NO. 9 numerous questions about his prior sexual experiences BROTHER MUELLER
untied JGHN DOE NO. 9’S hands, removed the blindfold1 and told JOHN DOE NO. 9 to stand
up and drive himself home,

20. BROTHER MUELLER abused other students at Roncalli High School in the
same or similar manner that he abused JOHN DOE NO. 9. BROTHER MUELLER also abused
students at other schools where he was assigned by the MARlANISTS.

21. At the time he was sexually abused, JOHN DOE NO. 9 was unaware that
Defendants knew that BROTHER MUELLER sexually abused other students Thus, JOHN
DOE NO. 9 was also unaware that the Defendants’ failure to take any action against BROTHER
MUELLER contributed to his own abnse.

22. After finding out about BROTHER MUELLER’s sexual abuse of rninors, the
Defendants actively took steps to conceal the abuse in order to protect BROTHER MUELLER,

conceal Defendants’ own wrongdoing in supervising BROTHER iviUELLER, and prevent

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lOlrlN DOE NO. 9 and other victims ot`BROTl-lER MUELLER from filing a civil lawsuit
23_ BROTHER MUELLER and JOHN DOE NO. 9 were in a fiduciary relationship
BROTHER MUELLER held a special position of trust and confidence with JOHN, JOHN DOE
NO. 9 looked to BROTHER MUELLER for counseling and guidance
24. The Defendants were iii a fiduciary relationship with JGHN DOE NO. 9. JOHN
DGE NO. 9 placed his trust and confidence iii the Defendants’ institutions JOHN DOE NO. 9
looked to the Defendants and their representatives for counseling and guidance In addition, the
Defendants knew that JOHN DOE NO. 9 had a special and privileged relationship with
BROTHER MUELLER. Each Defendant owed JOHN DOE NO. 9 a fiduciary duty to:
(a) lnvestigate and Warn JOHN DOE NO. 9 of the potential for harm from
BROTHER MUELLER;
(b) Disclose its awareness of facts regarding BROTHER MUELLER that
created a likely potential for harm;
(c) Disclose its own negligence Witli regard to hiring, supervision and
retention of BROTHER MUELLER;
(d) Provide a safe environment for JOHN DOE NO. 9 where he would be free
from abuse; and
(e) Protect JOHN DOE NO. 9 from exposure to harmful individuals like
BROTHER MUELLER.
25 . Each Defendant breached its fiduciary duty to JOHN DOE NO. 9 by failing to:
(a) lnvestigate and warn JOHN DOE NO. 9 of the potential for harm from
BROTHER MUELLER;
(b) Disclose its awareness of facts regarding BROTHER MUELLER that

created a likely potential for harm;

(c) Disclose its own negligence with regard to hiring, supervision and

retention of BROTHER MUELLER;

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(d) ` Provide a safe environment for .lOl'lN DOE NO. 9 where he was free from
abuse; and
(e) Protect JOHN DOE NO. 9 from exposure to harmful individuals like
BROTHER MUELLER.
26. Each Defendant actively and fraudulently concealed information pertinent and

relevant to claims relating to the sexual abuse in this matter for the purpose of protecting itself

from civil liability and evading same.

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27. Plaintiff repeats and re-alleges Paragraphs l through 26 above

28. At all material tinies, the Defendants owed a duty to Plaintiff to use reasonable
care to ensure the safety, care, well-being and health of the Plaintiff While lie was under their
care, custody or in the presence of their agents or employees.~ The Defendaiits’ duties
encompassed the hiring, retention and/or supervision of BROTHER MUELLER and otherwise
providing a safe environment at Roncalli High School.

29. The Defendants breached these duties by failing to protect the minor Plaintiff
from sexual assault and lewd and lascivious acts committed by their agent aiid/or einployee,
BROTHER MUELLER, at Roncalli High School.

30. At all relevant times, the Defendants knew or in the exercise of reasonable care
should have known that BROTHER MUELLER was unfit, dangerous, and a threat to the health,
safety and welfare of the minors entrusted to his counsel, care and protection

31. Despite such actual or constructive knowledge, the Defendants provided
BROTHER MUELLER unfettered access to ]OHN DOE NO. 9 and gave him unlimited and
uncontrolled privacy. d

32. At all relevant tiines, the Defendants created an environment which fostered child

sexual abuse against children it had a duty to protect, including JOHN DOE NO. 9.

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33. At all relevant tiines, the Del’endaiits had inadequate policies and procedures to

protect children it was entrusted to care for and protect including JOHN DOE NO. 9.

34. As a direct and proximate result of Defendants’ negligence, JOHN DOE NO. 9

has suffered severe and permanent psychological, emotional and physical injuries, including but

 

not limited to severe depression, loss of faith, dysfunctional relationships, shame, humiliation
and the inability to lead a normal life. Plaintift‘s injuries are persistent, pennanent, and
debilitating in nature v `
WHEREFORE, Plaintiff,v JOHN DOE NO. 9, prays thatjudginent be entered in his favor
and against the Defendants, the DIOCESE OF PUEBLO and THE MARlANlST PROVINCE

OF THE UNITED STATES, INC., jointly and severally, for compensatory daniages, costs,
expert Witness fees, deposition expenses, pre- and post-judgment interest and for such other and
further relief as this Court deems just and proper
DEMAND FOR JURY TRIAL
Plaintiff demands a jury trial in this action.

Dated:
Respectfully submitted,

 

LAW FIRM OF ALAN G. MOLK
By: Duly signed original in office of Alan G. Molk

Alan G. Molk, #10988 `
-and-

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STA'I`E OF COLORADO hiring in: .10360464

Review Clvrk: 'I`il'l`a ny Muruzzi

 

320 West Tenth Street
Pueblo, Colorado 81003

 

 

A COURT USE ONLY A
Plaintiff: Jolin Doe No. 9
Nuniber:
Defendant: -Diocese of Pueblo, a corporation
sole, and The Marianists Province of the United
Div: Ctrm:

States, lnc.

 

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DISTRICT COURT CIVIL (CV) CASE COVER SHEET FOR INITIAL PLEADING
OF COMP_LAINT, COUNTERCLAIM, CROSS-CLAIM OR THIRD PARTY
COMPLAINT

 

 

 

 

 

l. This cover sheet shall be filed with the initial pleading of a complaint, counterclaim,
cross-claim or third party complaint in every district court (CV) case. lt shall not be filed
in Doniestic Relations (DR), Probate (PR), Water (CW), Juvenile (JA, JR, JD, JV`), or
Mental Health (MH) cases.

2. Check the boxes applicable to this case:

wl

 

